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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)              *     MDL NO. 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *     SECTION L
                                          *
                                          *     JUDGE ELDON E. FALLON
                                          *
                                          *     MAG. JUDGE NORTH
*****************************************************************************
This document only applies to:            *
                                          *
MILDRED CHILDS, et ux.                    *     CASE NUMBER: 2:14-cv-02960
                                          *
                    Plaintiff,            *     JUDGE: ELDON E. FALLON
                                          *
                    v.                    *     MAGISTRATE: NORTH
                                          *
JANSSEN RESEARCH & DEVELOPMENT, *               JURY DEMAND
LLC f/k/a JOHNSON AND JOHNSON             *
PHARMACEUTICAL RESEARCH AND               *
DEVELOPMENT LLC, JANSSEN ORTHO, *
LLC, JANSSEN PHARMACEUTICALS,             *
INC., f/k/a JANSSEN PHARMACEUTICA, *
INC. f/k/a ORTHO-MCNEIL-JANSSEN           *
PHARMACEUTICALS, INC., BAYER              *
HEALTHCARE PHARMACEUTICALS,               *
INC., BAYER PHARMA AG, BAYER              *
CORPORATION, BAYER HEALTHCARE, *
LLC, BAYER HEALTHCARE AG, and             *
BAYER AG,                                 *
                     Defendants.          *
                                          *
******************************************************************************
                     NOTICE OF AND SUGGESTION OF DEATH

TO ALL PARTIES AND ATTORNEYS OF RECORD, please take notice that:

       Undersigned counsel, pursuant to Federal Rule of Civil Procedure 25(a)(1), hereby

informs this Honorable Court of the death of the Plaintiff, Mildred Childs (“the Plaintiff”).

Counsel below respectfully informs this Court that a Motion To Substitute Party Plaintiff And

For Leave to Amend Complaint Instanter will likely be filed by James R. Childs, the child of the

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Plaintiff and the Independent Administrator of Mildred Childs’ Estate. The Motion To Substitute

Party Plaintiff And For Leave to Amend the Complaint Instanter will also seek to add wrongful

death and survival action claims and to add a Defendant, Johnson & Johnson Company, in

addition to substituting James Childs as the party Plaintiff due to the death of Plaintiff Mildred

Childs.



                                              Respectfully Submitted,


                                              /s/ Mekel S. Alvarez
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of July, 2015, a true copy of the foregoing Notice

Of and Suggestion of Death was filed electronically. Notice of this filing was sent to all parties

by operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s CM/ECF system

                                               /s/ Mekel S. Alvarez___________




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